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     Federal Defender
2    PEGGY SASSO, CA Bar #228906
     Assistant Federal Defenders
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     2300 Tulare Street, Suite 330
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     Telephone: (559) 487-5561
5
     Attorneys for Defendant
6    JENNIFER ALVAREZ
7
8                             IN THE UNITED STATES DISTRICT COURT
9                           FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                      )   No. 1:18-cr-0247 LJO - SKO
12                                                  )
                            Plaintiff,              )
13                                                  )
            v.                                      )   WAIVER OF DEFENDANT’S PERSONAL
14                                                  )   PRESENCE; ORDER
     JENNIFER ALVAREZ,                              )   THEREON
15                                                  )
                            Defendant.              )
16                                                  )
17
18          Pursuant to Fed. R. Crim. P. 43(b)(3), Defendant, Jennifer Alvarez, having been advised
19   of her right to be present at all stages of the proceedings, hereby requests that this Court proceed
20   in her absence on every occasion that the Court may permit, pursuant to this waiver. Defendant
21   agrees that her interests shall be represented at all times by the presence of her attorney, the
22   Office of the Federal Defender for the Eastern District of California, the same as if Defendant
23   were personally present, and requests that this court allow her attorney-in-fact to represent her
24
     interests at all times. Defendant further agrees that notice to Defendant's attorney that
25
     Defendant's presence is required will be deemed notice to the Defendant of the requirement of
26
     her appearance at said time and place.
27
     ///
28
     Case 1:18-cr-00247-DAD-SKO Document 23 Filed 11/29/18 Page 2 of 2


1    DATED: November 28, 2018                     /s/ Jennifer Alvarez
                                                 JENNIFER ALVAREZ
2                                                Defendant
3
4
5    DATED: November 28, 2018                    /s/ Peggy Sasso
                                                 PEGGY SASSO
6                                                Assistant Federal Defender
                                                 Attorney for JENNIFER ALVAREZ
7
8
9
10
11                                             ORDER

12
13            GOOD CAUSE APPEARING, IT IS HEREBY ORDERED that Defendant’s

14   appearance may be waived at any and all non-substantive pretrial proceedings until further order.
15
     IT IS SO ORDERED.
16
17   Dated:     November 29, 2018                               /s/   Sheila K. Oberto             .
                                                      UNITED STATES MAGISTRATE JUDGE
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28




     Alvarez: Rule 43 Waiver
